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8
                           UNITED STATES DISTRICT COURT
9                         NORTHERN DISTRICT OF CALIFORNIA
10
11     Orlando Garcia,                          Case No.

12               Plaintiff,
                                                Complaint For Damages And
13       v.                                     Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14     Ellsworth-Poplar LLC, a                  Act; Unruh Civil Rights Act
       California Limited Liability
15     Company;
16     Ma's Wash & Dry, Inc., a
       California Corporation
17
                 Defendants.
18
19
           Plaintiff Orlando Garcia complains of Ellsworth-Poplar LLC, a
20
     California Limited Liability Company; Ma's Wash & Dry, Inc., a California
21
     Corporation; and alleges as follows:
22
23
24     PARTIES:
25     1. Plaintiff is a California resident with physical disabilities. Plaintiff
26   suffers from Cerebral Palsy. He has manual dexterity issues. He cannot walk.
27   He uses a wheelchair for mobility.
28     2. Defendant Ellsworth-Poplar LLC owned the real property located at or


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1    about 364 N. Ellsworth Ave., San Mateo, California, in December 2021.
2      3. Defendant Ellsworth-Poplar LLC owns the real property located at or
3    about 364 N. Ellsworth Ave., San Mateo, California, currently.
4      4. Defendant Ma's Wash & Dry, Inc. owned Wash & Dry Coin-Op Laundry
5    located at or about 364 N. Ellsworth Ave., San Mateo, California, in December
6    2021.
7      5. Defendant Ma's Wash & Dry, Inc. owns Wash & Dry Coin-Op Laundry
8    (“Wash & Dry”) located at or about 364 N. Ellsworth Ave., San Mateo,
9    California, currently.
10     6. Plaintiff does not know the true names of Defendants, their business
11   capacities, their ownership connection to the property and business, or their
12   relative responsibilities in causing the access violations herein complained of,
13   and alleges a joint venture and common enterprise by all such Defendants.
14   Plaintiff is informed and believes that each of the Defendants herein is
15   responsible in some capacity for the events herein alleged, or is a necessary
16   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
17   the true names, capacities, connections, and responsibilities of the Defendants
18   are ascertained.
19
20     JURISDICTION & VENUE:
21     7. The Court has subject matter jurisdiction over the action pursuant to 28
22   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
23   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
24     8. Pursuant to supplemental jurisdiction, an attendant and related cause
25   of action, arising from the same nucleus of operative facts and arising out of
26   the same transactions, is also brought under California’s Unruh Civil Rights
27   Act, which act expressly incorporates the Americans with Disabilities Act.
28     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is


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1    founded on the fact that the real property which is the subject of this action is
2    located in this district and that Plaintiff's cause of action arose in this district.
3
4      FACTUAL ALLEGATIONS:
5      10. Plaintiff went to Wash & Dry in December 2021 with the intention to
6    avail himself of its goods or services motivated in part to determine if the
7    defendants comply with the disability access laws. Not only did Plaintiff
8    personally encounter the unlawful barriers in December 2021, but he wanted
9    to return and patronize the business two more times but was specifically
10   deterred due to his actual personal knowledge of the barriers gleaned from his
11   encounter with them.
12     11. Wash & Dry is a facility open to the public, a place of public
13   accommodation, and a business establishment.
14     12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
15   to provide wheelchair accessible coin machines in conformance with the ADA
16   Standards as it relates to wheelchair users like the plaintiff.
17     13. Wash & Dry provides coin machines to its customers but fails to provide
18   wheelchair accessible coin machine in conformance with the ADA Standards.
19     14. A problem that plaintiff encountered was that the coin machine for the
20   soap dispenser was too high.
21     15. Plaintiff believes that there are other features of the coin machines that
22   likely fail to comply with the ADA Standards and seeks to have fully compliant
23   coin machines for wheelchair users.
24     16. On information and belief, the defendants currently fail to provide
25   wheelchair accessible coin machines for the soap dispenser.
26     17. Additionally, on the date of the plaintiff’s visit, the defendants failed to
27   provide wheelchair accessible restrooms in conformance with the ADA
28   Standards as it relates to wheelchair users like the plaintiff.


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1      18. Wash & Dry provides restrooms to its customers but fails to provide
2    wheelchair accessible restrooms in conformance with the ADA Standards.
3      19. A problem that plaintiff encountered was that the doorway leading into
4    the restroom was too narrow. Additionally, the clear floor space inside the
5    restroom was too small. Finally, there were no grab bars inside the restroom
6    for use by wheelchair users.
7      20. Plaintiff believes that there are other features of the restrooms that
8    likely fail to comply with the ADA Standards and seeks to have fully compliant
9    restrooms for wheelchair users.
10     21. On information and belief, the defendants currently fail to provide
11   wheelchair accessible restrooms.
12     22. The failure to provide accessible facilities created difficulty and
13   discomfort for the Plaintiff.
14     23. These barriers relate to and impact the plaintiff’s disability. Plaintiff
15   personally encountered these barriers.
16     24. As a wheelchair user, the plaintiff benefits from and is entitled to use
17   wheelchair accessible facilities. By failing to provide accessible facilities, the
18   defendants denied the plaintiff full and equal access.
19     25. The defendants have failed to maintain in working and useable
20   conditions those features required to provide ready access to persons with
21   disabilities.
22     26. The barriers identified above are easily removed without much
23   difficulty or expense. They are the types of barriers identified by the
24   Department of Justice as presumably readily achievable to remove and, in fact,
25   these barriers are readily achievable to remove. Moreover, there are numerous
26   alternative accommodations that could be made to provide a greater level of
27   access if complete removal were not achievable.
28     27. Plaintiff will return to Wash & Dry to avail himself of its goods or


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1    services and to determine compliance with the disability access laws once it is
2    represented to him that Wash & Dry and its facilities are accessible. Plaintiff is
3    currently deterred from doing so because of his knowledge of the existing
4    barriers and his uncertainty about the existence of yet other barriers on the
5    site. If the barriers are not removed, the plaintiff will face unlawful and
6    discriminatory barriers again.
7      28. Given the obvious and blatant nature of the barriers and violations
8    alleged herein, the plaintiff alleges, on information and belief, that there are
9    other violations and barriers on the site that relate to his disability. Plaintiff will
10   amend the complaint, to provide proper notice regarding the scope of this
11   lawsuit, once he conducts a site inspection. However, please be on notice that
12   the plaintiff seeks to have all barriers related to his disability remedied. See
13   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
14   encounters one barrier at a site, he can sue to have all barriers that relate to his
15   disability removed regardless of whether he personally encountered them).
16
17   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
18   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
19   Defendants.) (42 U.S.C. section 12101, et seq.)
20     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
21   again herein, the allegations contained in all prior paragraphs of this
22   complaint.
23     30. Under the ADA, it is an act of discrimination to fail to ensure that the
24   privileges, advantages, accommodations, facilities, goods and services of any
25   place of public accommodation is offered on a full and equal basis by anyone
26   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
27   § 12182(a). Discrimination is defined, inter alia, as follows:
28             a. A failure to make reasonable modifications in policies, practices,


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1                 or procedures, when such modifications are necessary to afford
2                 goods,    services,    facilities,   privileges,   advantages,   or
3                 accommodations to individuals with disabilities, unless the
4                 accommodation would work a fundamental alteration of those
5                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
6            b. A failure to remove architectural barriers where such removal is
7                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
8                 defined by reference to the ADA Standards.
9            c. A failure to make alterations in such a manner that, to the
10                maximum extent feasible, the altered portions of the facility are
11                readily accessible to and usable by individuals with disabilities,
12                including individuals who use wheelchairs or to ensure that, to the
13                maximum extent feasible, the path of travel to the altered area and
14                the bathrooms, telephones, and drinking fountains serving the
15                altered area, are readily accessible to and usable by individuals
16                with disabilities. 42 U.S.C. § 12183(a)(2).
17     31. When a business provides coin machines, it must provide accessible
18   coin machines.
19     32. Here, accessible coin machines have not been provided in conformance
20   with the ADA Standards.
21     33. When a business provides restrooms, it must provide accessible
22   restrooms.
23     34. Here, accessible restrooms have not been provided in conformance with
24   the ADA Standards.
25     35. The Safe Harbor provisions of the 2010 Standards are not applicable
26   here because the conditions challenged in this lawsuit do not comply with the
27   1991 Standards.
28     36. A public accommodation must maintain in operable working condition


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1    those features of its facilities and equipment that are required to be readily
2    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
3       37. Here, the failure to ensure that the accessible facilities were available
4    and ready to be used by the plaintiff is a violation of the law.
5
6    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
7    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
8    Code § 51-53.)
9       38. Plaintiff repleads and incorporates by reference, as if fully set forth
10   again herein, the allegations contained in all prior paragraphs of this
11   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
12   that persons with disabilities are entitled to full and equal accommodations,
13   advantages, facilities, privileges, or services in all business establishment of
14   every kind whatsoever within the jurisdiction of the State of California. Cal.
15   Civ. Code §51(b).
16      39. The Unruh Act provides that a violation of the ADA is a violation of the
17   Unruh Act. Cal. Civ. Code, § 51(f).
18      40. Defendants’ acts and omissions, as herein alleged, have violated the
19   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
20   rights to full and equal use of the accommodations, advantages, facilities,
21   privileges, or services offered.
22      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
23   discomfort or embarrassment for the plaintiff, the defendants are also each
24   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
25   (c).)
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1           PRAYER:
2           Wherefore, Plaintiff prays that this Court award damages and provide
3    relief as follows:
4        1. For injunctive relief, compelling Defendants to comply with the
5    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
6    plaintiff is not invoking section 55 of the California Civil Code and is not
7    seeking injunctive relief under the Disabled Persons Act at all.
8        2. For equitable nominal damages for violation of the ADA. See
9    Uzuegbunam v. Preczewski, --- U.S. ---, 2021 WL 850106 (U.S. Mar. 8, 2021)
10   and any other equitable relief the Court sees fit to grant.
11       3. Damages under the Unruh Civil Rights Act, which provides for actual
12   damages and a statutory minimum of $4,000 for each offense.
13       4. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
14   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
15
16   Dated: December 13, 2021          CENTER FOR DISABILITY ACCESS
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18
                                       By: _______________________
19
                                              Amanda Seabock, Esq.
20                                            Attorney for plaintiff
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